Case 8:19-cv-00201-DOC-JDE Document 1 Filed 01/31/19 Page 1 of 8 Page ID #:1



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 6

 7                              UNITED STATES DISTRICT COURT

 8                            CENTRAL DISTRICT OF CALIFORNIA

 9

10    BLAKE WOLF,                                 Case No. 8:19-cv-00201
11                     Plaintiff,                 COMPLAINT FOR DAMAGES
12           v.                                   1. VIOLATION OF THE TELEPHONE
                                                  CONSUMER PROTECTION ACT, 47 U.S.C.
13                                                §227 ET SEQ.
      AMERICAN CREDIT ACCEPTANCE,
14    LLC,                                        2. VIOLATION OF THE ROSENTHAL FAIR
                                                  DEBT COLLECTION PRACTICES ACT,
15                     Defendant.                 CAL. CIV. CODE §1788 ET SEQ.
16                                                DEMAND FOR JURY TRIAL
17

18                                           COMPLAINT
19          NOW comes BLAKE WOLF (“Plaintiff”), by and through his attorneys, WAJDA LAW
20
     GROUP, APC (“Wajda”), complaining as to the conduct of AMERICAN CREDIT
21
     ACCEPTANCE, LLC (“Defendant”) as follows:
22
                                        NATURE OF THE ACTION
23
        1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection Act
24

25   (“TCPA”) under 47 U.S.C. § 227 et seq. and the Rosenthal Fair Debt Collection Practices Act

26   (“RFDCPA”) pursuant to Cal. Civ. Code §1788 et seq., for Defendant’s unlawful conduct.
27                                     JURISDICTION AND VENUE
28
                                                     1
Case 8:19-cv-00201-DOC-JDE Document 1 Filed 01/31/19 Page 2 of 8 Page ID #:2



 1       2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 47 U.S.C. §227, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim pursuant
 4
     to 28 U.S.C. §1367, because it arises out of the same common nucleus of operative facts as
 5
     Plaintiff’s federal question claim.
 6

 7       3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides in the Central

 8   District of California and a substantial portion of the events or omissions giving rise to the claims

 9   occurred within the Central District of California.
10
                                                    PARTIES
11
         4. Plaintiff is a consumer over-the-age of 18, residing in Orange County, California, which is
12
     located within the Central District of California.
13
         5. Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).
14

15       6. Defendant is engaged in the business of offering loans and collecting or attempting to

16   collect, directly or indirectly, debts owed or due using the mail and telephone from consumers
17   across the country, including consumers located in the state of California. Defendant is a limited
18
     liability company organized under the laws of the state of South Carolina, with Dan C. Breeden, Jr.
19
     as its registered agent, located at 340 East Main Street, Suite 500, Spartanburg, South Carolina
20
     29302.
21

22       7. Defendant is a “person” as defined by 47 U.S.C. § 153(39).

23       8. Defendant acted through its agents, employees, officers, members, directors, heirs,

24   successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
25   relevant to the instant action.
26
                                   FACTS SUPPORTING CAUSES OF ACTION
27

28
                                                          2
Case 8:19-cv-00201-DOC-JDE Document 1 Filed 01/31/19 Page 3 of 8 Page ID #:3



 1       9. Plaintiff obtained a loan from Defendant. Thereafter, Plaintiff experienced financial
 2   hardship and began falling behind on his scheduled payments, thus incurring debt (“subject debt”).
 3
         10. Around the summer of 2018, Plaintiff began receiving calls to his cellular phone, (978)
 4
     XXX-7554, from Defendant.
 5
         11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and
 6

 7   operator of the cellular phone ending in -7554. Plaintiff is and always has been financially

 8   responsible for the cellular phone and its services.

 9       12. Defendant has primarily used the phone number (866) 544-3430 when placing calls to
10
     Plaintiff’s cellular phone. Upon belief, Defendant has used additional phone numbers as well.
11
         13. Upon information and belief, the above-referenced phone number ending in -3430 is
12
     regularly utilized by Defendant during its debt collection activities.
13
         14. During answered calls from Defendant, Plaintiff experiences a noticeable pause, lasting a
14

15   handful of seconds in length, and has to repeatedly say “hello” before a live representative begins

16   to speak.
17       15. Upon speaking with Defendant, Plaintiff was informed that Defendant was seeking to
18
     collect upon the subject debt.
19
         16. Plaintiff explained his inability to address the subject debt and informed Defendant that he
20
     was declaring bankruptcy.
21

22       17. After explaining his inability to address the subject debt, Plaintiff asked that Defendant

23   contact his bankruptcy attorney instead.

24       18. Defendant willfully ignored Plaintiff’s demands and continued placing phone calls to
25   Plaintiff’s cellular phone.
26
         19. When Defendant refused to contact Plaintiff’s attorney instead of him, Plaintiff demanded
27
     that it stop calling his cellular phone.
28
                                                        3
Case 8:19-cv-00201-DOC-JDE Document 1 Filed 01/31/19 Page 4 of 8 Page ID #:4



 1      20. Despite Plaintiff’s demands, Defendant continued to relentlessly place phone calls to
 2   Plaintiff’s cellular phone.
 3
        21. Plaintiff has received not less than 15 phone calls from Defendant since demanding that it
 4
     stop contacting him.
 5
        22. Frustrated over Defendant’s conduct, Plaintiff spoke with Wajda regarding his rights,
 6

 7   resulting in expenses.

 8      23. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

 9      24. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
10
     limited to: invasion of privacy, aggravation that accompanies collection telephone calls, emotional
11
     distress, increased risk of personal injury resulting from the distraction caused by the never-ending
12
     calls, increased usage of his telephone services, loss of cellular phone capacity, diminished cellular
13
     phone functionality, decreased battery life on his cellular phone, and diminished space for data
14

15   storage on his cellular phone.

16              COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
17      25. Plaintiff repeats and realleges paragraphs 1 through 24 as though fully set forth herein.
18
        26. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their
19
     cellular phone using an automatic telephone dialing system (“ATDS”) or prerecorded messages
20
     without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment
21

22   which has the capacity...to store or produce telephone numbers to be called, using a random or

23   sequential number generator; and to dial such numbers.”

24      27. Defendant used an ATDS in connection with its communications directed towards
25   Plaintiff’s cellular phone.      The noticeable pause that Plaintiff experienced upon answering
26
     Defendant’s calls, as well as the fact that Plaintiff had to repeatedly say “hello” before he was
27
     connected with a live representative, is instructive that an ATDS was being utilized to generate the
28
                                                        4
Case 8:19-cv-00201-DOC-JDE Document 1 Filed 01/31/19 Page 5 of 8 Page ID #:5



 1   phone calls. Additionally, Defendant’s continued contacts after Plaintiff demanded that the phone
 2   calls stop further demonstrates Defendant’s use of an ATDS. Moreover, the nature and frequency
 3
     of Defendant’s contacts points to the involvement of an ATDS.
 4
        28. Defendant violated the TCPA by placing at least 15 phone calls to Plaintiff’s cellular phone
 5
     using an ATDS without his consent. Any consent Plaintiff may have given to Defendant by virtue
 6

 7   of incurring the subject debt was explicitly revoked by his demands that it cease contacting him.

 8      29. The calls placed by Defendant to Plaintiff were regarding business transactions and not for

 9   emergency purposes as defined by the TCPA under 47 U.S.C. § 227(b)(1)(A)(i).
10
        30. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for
11
     at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA
12
     should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise
13
     entitled to under 47 U.S.C. § 227(b)(3)(C).
14

15      WHEREFORE, Plaintiff, BLAKE WOLF, respectfully requests that this Honorable Court enter

16   judgment in his favor as follows:
17      a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned statutes and regulations;
18

19      b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
           to 47 U.S.C. §§ 227(b)(3)(B)&(C);
20
        c. Awarding Plaintiff costs and reasonable attorney fees;
21

22      d. Enjoining Defendant from further contacting Plaintiff; and

23      e. Awarding any other relief as this Honorable Court deems just and appropriate.

24
           COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
25
        31. Plaintiff restates and realleges paragraphs 1 through 30 as though fully set forth herein.
26
27      32. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).

28
                                                       5
Case 8:19-cv-00201-DOC-JDE Document 1 Filed 01/31/19 Page 6 of 8 Page ID #:6



 1       33. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)
 2   and (f).
 3
         34. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
 4
                a. Violations of RFDCPA § 1788.17
 5
         35. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
 6

 7   provision of this title, every debt collector collecting or attempting to collect a consumer debt shall

 8   comply with the provisions of Section 1692b to 1692j [of the Fair Debt Collection Practices Act

 9   (“FDCPA”)], inclusive of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
10
     United States Code.”
11
                          i. Violations of the FDCPA §1692c and §1692d
12
         36. The FDCPA, pursuant to 15 U.S.C. §1692c(a)(2), prohibits a debt collector from
13
     “communicat[ing] with a consumer in connection with the collection of a debt if the debt collector
14

15   knows the consumer is represented by an attorney…”

16       37. Defendant violated c(a)(2) when it placed over 15 calls to Plaintiff’s cellular phone after it
17   knew that Plaintiff was represented by an attorney.
18
         38. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in
19
     any conduct the natural consequence of which is to harass, oppress, or abuse any person in
20
     connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring
21

22   or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

23   abuse, or harass any person at the called number.”

24       39. Defendant violated §1692c(a)(1), d and d(5) when it repeatedly called Plaintiff after being
25   notified to stop. This behavior of systematically calling Plaintiff’s phone on a systematic basis in
26
     spite of his demands was harassing and abusive. The frequency and nature of the calls shows that
27
     Defendant willfully ignored Plaintiff’s pleas with the goal of annoying and harassing Plaintiff.
28
                                                        6
Case 8:19-cv-00201-DOC-JDE Document 1 Filed 01/31/19 Page 7 of 8 Page ID #:7



 1      40. Defendant was notified by Plaintiff that its calls were not welcomed, especially since
 2   Plaintiff was filing for bankruptcy. As such, Defendant knew that its conduct was inconvenient
 3
     and harassing to Plaintiff.
 4
                              ii. Violations of the FDCPA § 1692e
 5
        41. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
 6

 7   deceptive, or misleading representation or means in connection with the collection of any debt.”

 8      42. In addition, this section enumerates specific violations, such as:

 9              “The use of any false representation or deceptive means to collect or attempt to
                collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
10              §1692e(10).
11      43. Furthermore, Defendant violated §1692e and e(10) when it used deceptive means to collect
12
     and/or attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop
13
     contacting him, Defendant continued to contact Plaintiff. Instead of putting an end to this harassing
14
     behavior, Defendant placed repeated calls to Plaintiff’s cellular phone in a deceptive attempt to
15

16   force Plaintiff to answer its calls and ultimately make a payment. Through its conduct, Defendant

17   misleadingly represented to Plaintiff that it had the legal ability to contact him after he explained

18   that he could not pay.
19
                              iii. Violations of FDCPA § 1692f
20
        44. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
21
     unconscionable means to collect or attempt to collect any debt.”
22
        45. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a
23

24   debt by repeatedly calling Plaintiff after being notified to stop. Attempting to coerce Plaintiff into

25   payment by placing voluminous phone calls without his permission is unfair and unconscionable
26   behavior. These means employed by Defendant only served to worry and confuse Plaintiff.
27

28
                                                        7
Case 8:19-cv-00201-DOC-JDE Document 1 Filed 01/31/19 Page 8 of 8 Page ID #:8



 1      46. Defendant willfully and knowingly violated the RFDCPA. Defendant was aware that
 2   Plaintiff was represented by an attorney regarding the subject debt, but yet continued to bombard
 3
     Plaintiff with collection notices, demanding payment for the subject debt. Moreover, Defendant
 4
     continued to call Plaintiff’s cellular phone after Plaintiff specifically asked it to stop contacting
 5
     him. Defendant’s willful and knowing violations of the RFDCPA should trigger this Honorable
 6

 7   Court’s ability to award Plaintiff statutory damages of up to $1,000.00, as provided under Cal. Civ.

 8   Code § 1788.30(b).

 9      47. As plead in paragraphs 22 through 24, Plaintiff has been harmed and suffered damages as
10
     a result of Defendant’s illegal actions.
11
             WHEREFORE, Plaintiff, BLAKE WOLF, respectfully requests that this Honorable Court
12
     enter judgment in his favor as follows:
13
        a. Declare that the practices complained of herein are unlawful and violate the aforementioned
14
           statute;
15
        b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
16
        c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
17         1788.30(b);
18
        d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
19         § 1788.30(c); and

20      e. Award any other relief as the Honorable Court deems just and proper.
21
        Dated: January 31, 2019                    Respectfully submitted,
22
                                                   By: /s/ Nicholas M. Wajda
23
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